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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                            ORDER
             v.                                             03-CR-33

CARLOS GARCIA-BENITEZ, et al.,

                                Defendants.


             The above-referenced case was referred to Magistrate Judge Hugh

B. Scott, pursuant to 28 U.S.C. § 636(b)(1)(A). On July 25, 2005, Magistrate

Judge Scott filed a Report and Recommendation, recommending that

defendants' omnibus motions be denied to the extent that they seek suppression

of the evidence obtained pursuant to the various eavesdrop orders.

             The Court has carefully reviewed the Report and Recommendation,

the record in this case, and the pleadings and materials submitted by the parties.

No objections having been timely filed, it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons

set forth in Magistrate Judge Scott's Report and Recommendation, defendants'

omnibus motions are denied to the extent that they seek suppression of the

evidence obtained pursuant to the various eavesdrop orders.




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           The case is referred back to the Magistrate Judge for further

proceedings.

           IT IS SO ORDERED.




                                    /s/ Richard J. Arcara
                                    _______________________________
                                    HONORABLE RICHARD J. ARCARA
                                    CHIEF JUDGE
                                    UNITED STATES DISTRICT COURT

Dated: August 16 , 2005




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